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                       14        ATTORNEYS FOR MICHAEL LLAMAS
                       15
                       16
                                                  UNITED STATES DISTRICT COURT
                                                  EASTERN DISTRICT OF CALIFORNIA
                       17
                       18
                                                                                CASE NO.: 2:12-CR-00315-JAM
                            UNITED STATES,
                       19
                                                  PLAINTIFF,                    JOINT MOTION TO CONTINUE
                       20                                                       LITIGATION DATES FOR
                            v.
                       21                                                       DEFENDANT MICHAEL LLAMAS
                       22
                            MICHAEL LLAMAS,
                                                                                Dept: Courtroom 6, 14th floor
                       23                         DEFENDANT.                    Judge: Hon. John A. Mendez

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                                     __________________________________________________________________________________
                                                 UNITED STATES v. LLAMAS, et al., CASE NO. 2:12-CR-00315-JAM
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                       1          COMES NOW, Plaintiff United States, represented by Attorney Paul Hemesath,
                       2    and Defendant Michael Llamas, represented by Attorney Benjamin Pavone, who agree
                       3    as follows:
                       4          Counsel have conferred regarding a continuance request, they have agreed to
                       5    vacate the current date scheduled for the Judgment and Sentencing of April 4, 2017,
                       6    and to continue the case to May 16, 2017, for Judgment and Sentencing.
                       7          The parties request this continuance for the purpose of conducting further
                       8    investigation and information gathering, including the production of financial
                       9    information, bearing on a final sentence recommendation. New dates:
                       10      March 7, 2017          Llamas Information Compliance to Probation
                       11      March 28, 2017         Draft Presentence Report
                       12      April 11, 2017         Informal Objections to the Presentence Report
PAVONE & FONNER, LLP




                       13      April 18, 2017         Final Presentence Report
                       14      May 2, 2017            Sentencing Memorandums
                       15      May 16, 2017           Judgment and Sentencing Hearing
                       16
                                    So stipulated:
                       17
                       18   Date: January 26, 2017                             UNITED STATES ATTORNEYS OFFICE
                       19                                                      /s/ Paul Hemesath, Esq.
                                                                               Assistant United States Attorney
                       20
                       21   Date: January 26, 2017                             PAVONE & FONNER, LLP

                       22                                                      /s/ Benjamin Pavone, Esq.
                                                                               Attorney for Defendant Michael Llamas
                       23
                       24         The stipulation is accepted and so Ordered.

                       25
                            Date: January 26, 2017                             UNITED STATES DISTRICT COURT
                       26
                                                                               /s/ JOHN A. MENDEZ
                       27
                                                                               Hon. John A. Mendez
                       28                                                      Judge Presiding

                                    __________________________________________________________________________________
                                                UNITED STATES v. LLAMAS, et al., CASE NO. 2:12-CR-00315-JAM
                                           STIPULATION AND ORDER TO CONTINUE SENTENCING DATES – PAGE 2
